Case 2:05-cv-02237-BBD-dkv Document 5 Filed 06/07/05 Page 1 of 3 Page|D 1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION
9.2492
MABLE B, BEAL, deeeased,
through
DEBORAH K. PUTNAM
and 503 C;,
MAYNARD BEAL, .U§§ § §
Representatives, §_*3\“:§; ;"_~,_~, G`
~iC' 7 l m
zf'm;j -J §
RUTH M. SCHAEFFER, deceased __ ;`_J:_;_¢ _° Q§`.§
through ;_5_,§5§ _~_-g §
JAN FREEMAN and DORIS BICKNELL §' r£_l ry »
Representatives 515-95 4:- §
m - l
Plaintil"fs,
vs. No.; 05}.22372{-1),?'\/
JURY DEMANDED

WALGREEN CO.,

Defendant.

CONSENT ORDER ON MOTION FOR
ENLARGEMENT OF TIME TO ANSWER OR RESPOND

This l\/lotion came to be heard of the Written motion of Defendant, Walgreen Co. for an

extension of time Within Which to answer the Complaint pursuant to F.R.C.P 6(b).
lt appears to the Court that counsel for Defendant Walgreen Co. consulted With Plaintit`f
by email and counsel for Plaintiff indicated that he did not oppose Defendant’S Motion and the
motion should be granted
THEREFORE IT IS ORDERED ADIUDGED AND DECREED that Defendant

Wal green Co. be, and is hereby granted an extension from June 6, 2005 to June 21, 2005 to

respond to the Plaintiffs’ Cornplaint.

This document entered on the docket s§eet ir:.ce?:)[gnplianee

with Hu\e 58 and/or 79(3) FRCF on

 

Case 2:05-cv-02237-BBD-dkv Document 5 Filed 06/07/05 Page 2 of 3 Page|D 2

ama z< zzM_

Lf. 5 . 'Bi»stFiet~Geur=t Magistrate Judge

Q/<»:/n< 7, 53de
Dé(e: '

Approved as to Form:

      

Pa arnoc Green #10407
Counsel for Defendant

lLl,WA WJMVC Wll/\FMWW

Larry E. Pavniish #8464
Counsel for Plaintift`

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02237 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

ESSEE

 

Pam Warnock Green

MCNABB BRAGORGOS & BURGESS, PLLC
8l l\/lonroe Ave.

SiXth Floor

l\/lernphis7 TN 38103--540

Larry E. Parrish

LAW OFFICES OF LARRY E. PARRISH
6075 Poplar Avenue

Ste. 420

l\/lernphis7 TN 38119--476

Leland l\/l. McNabb

MCNABB BRAGORGOS & BURGESS, PLLC
8l l\/lonroe Ave.

SiXth Floor

l\/lernphis7 TN 38103--540

Honorable Bernice Donald
US DISTRICT COURT

